Case 2:17-cv-00503-HCM-LRL Document 206 Filed 02/27/19 Page 1 of 34 PageID# 19247



                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                               NORFOLK DIVISION

  BASF PLANT SCIENCE, LP,

                      Plaintiff,             Civil Action No. 2:17cv503-HCM-LRL

        v.                                   Patent Case

  COMMONWEALTH SCIENTIFIC AND
  INDUSTRIAL RESEARCH
  ORGANISATION,

                      Defendant.

  COMMONWEALTH SCIENTIFIC AND
  INDUSTRIAL RESEARCH
  ORGANISATION, GRAINS RESEARCH
  AND DEVELOPMENT CORP., AND
  NUSEED PTY LTD.,

              Plaintiffs-Counterclaimants,

        v.

  BASF PLANT SCIENCE, LP, AND
  CARGILL, INCORPORATED,

               Defendants-
               Counterdefendants,

  BASF PLANT SCIENCE GMBH,

               Counter-Counterclaimant.



             BASF PLANT SCIENCE, LP’S AND BASF PLANT SCIENCE GMBH’S
                      OPENING CLAIM CONSTRUCTION BRIEF
Case 2:17-cv-00503-HCM-LRL Document 206 Filed 02/27/19 Page 2 of 34 PageID# 19248



                                                       TABLE OF CONTENTS


                                                                                                                                      Page(s)

  I.        PRELIMINARY STATEMENT ............................................................................................. 1

  II. BACKGROUND ..................................................................................................................... 2

       A. Fatty Acid Nomenclature ..................................................................................................... 2

       B. LC-PUFA Synthesis Generally ............................................................................................ 3

       C.        Expression of Genes in Transgenic Plants ........................................................................ 5

  III.        LEGAL STANDARD .......................................................................................................... 5

  IV.         ARGUMENT ....................................................................................................................... 6

       A. The term “at least [X]%” should be construed as open-ended, without an upper limit,
       consistent with its plain and ordinary meaning. .......................................................................... 6

       B. The term “less than [X]%” should be construed as open-ended, without a lower limit,
       consistent with its plain and ordinary meaning. ........................................................................ 12

       C.   The term “comprises [X]%” means “comprises exactly [X]%”; the “term “includes
       [X]%” means “includes exactly [X]%.” .................................................................................... 14

       D.   The term “SEQ ID NO:[X]” means “the exact sequence identified as
       SEQ ID NO:[X].” ...................................................................................................................... 17

       E. The term “seed-preferred promoter” is indefinite. ............................................................. 19

       F. The term “capable of directing expression . . . in [the cell/seed]” means “capable of
       causing expression . . . in [the cell/seed].” ................................................................................ 23

       G.    The words “capable of” should not be read into the terms “catalyses
       [desaturation/elongation]” and “a desaturase [an exogenous desaturase] which desaturates an
       acyl-CoA substrate.” ................................................................................................................. 25

       H.        The term “the extracted canola oil” does not require construction. ................................ 27

       I.     Agreed-upon Constructions ................................................................................................ 27

  V. CONCLUSION ...................................................................................................................... 29


                                                                         i
Case 2:17-cv-00503-HCM-LRL Document 206 Filed 02/27/19 Page 3 of 34 PageID# 19249



                                                 TABLE OF AUTHORITIES

                                                                                                                                Page(s)

  Cases

  Abbott Labs. v. Andrx Pharm., Inc.,
     452 F.3d 1331 (Fed. Cir. 2006)..............................................................................................5, 6

  In re Aldrich,
      398 F.2d 855 (C.C.P.A. 1968) .................................................................................................13

  Andersen Corp. v. Fiber Composites, LLC,
     474 F.3d 1361 (Fed. Cir. 2007)..........................................................................................11, 12

  Chef Am., Inc. v. Lamb-Weston, Inc.,
     358 F.3d 1371 (Fed. Cir. 2004)................................................................................................12

  In re Cruciferous Sprout Litig.,
      301 F.3d 1343 (Fed. Cir. 2002)................................................................................................23

  Dippin’ Dots, Inc. v. Mosey,
     476 F.3d 1337 (Fed. Cir. 2007)................................................................................................16

  Hill-Rom Servs., Inc. v. Stryker Corp.,
      755 F.3d 1367 (Fed. Cir. 2014)..................................................................................................6

  Lantech, Inc. v. Keip Mach. Co.,
     32 F.3d 542 (Fed. Cir. 1994)......................................................................................................7

  Lucent Techs., Inc. v. Gateway, Inc.,
     525 F.3d 1200 (Fed. Cir. 2008)................................................................................................16

  MagSil Corp. v. Hitachi Global Storage Techs., Inc.,
    687 F.3d 1377 (Fed. Cir. 2012)..................................................................................................8

  Markman v. Westview Instruments, Inc.,
    517 U.S. 370 (1996) ...................................................................................................................5

  Nautilus, Inc. v. Biosig Instruments, Inc.,
     572 U.S. 898 (2014) .................................................................................................................20

  Phillips v. AWH Corp.,
     415 F.3d 1303 (Fed. Cir. 2005) (en banc) ...............................................................5, 15, 17, 18

  Power Integrations, Inc. v. Fairchild Semiconductor Int’l, Inc.,
     711 F.3d 1348 (Fed. Cir. 2013)..................................................................................................6



                                                                      ii
Case 2:17-cv-00503-HCM-LRL Document 206 Filed 02/27/19 Page 4 of 34 PageID# 19250



  Quantum Corp. v. Rodime, PLC,
     65 F.3d 1577 (Fed. Cir. 1995)....................................................................................................7

  Regents of the Univ. of California v. Affymetrix, Inc.,
     No. 17-CV-01394-H-NLS, 2018 WL 4216361 (S.D. Cal. Sept. 4, 2018).........................10, 12

  Renishaw PLC v. Marposs Societa’ per Azioni,
     158 F.3d 1243 (Fed. Cir. 1998)................................................................................................24

  Rotatable Techs. LLC v. Motorola Mobility LLC,
     567 F. App’x 941 (Fed. Cir. 2014) ..........................................................................................22

  Rowpar Pharm. Inc. v. Lornamead Inc.,
     No. CV-13-01071-PHX-DGC, 2014 WL 1259777 (D. Ariz. Mar. 25, 2014) .........................11

  Saffran v. Johnson & Johnson,
      712 F.3d 549 (Fed. Cir. 2013)..................................................................................................22

  Spectrum Pharm., Inc. v. InnoPharma, Inc.,
     No. CV 12-260-RGA-CJB, 2014 WL 3365684 (D. Del. July 3, 2014).............................10, 11

  Spherix Inc. v. Verizon Servs Corp.,
     119 F. Supp. 3d 453, 456-57 (E.D. Va. 2015) .........................................................................21

  Summit 6, LLC v. Samsung Elecs. Co.,
     802 F.3d 1283 (Fed. Cir. 2015)..................................................................................................6

  Vederi, LLC v. Google, Inc.,
     744 F.3d 1376 (Fed. Cir. 2014)..............................................................................................5, 6

  Waddington N. Am., Inc. v. Sabert Corp.,
    No. CIV.A. 09-4883 GEB, 2010 WL 4363137 (D.N.J. Oct. 27, 2010)...................................13




                                                                   iii
Case 2:17-cv-00503-HCM-LRL Document 206 Filed 02/27/19 Page 5 of 34 PageID# 19251



  I.      PRELIMINARY STATEMENT

          BASF Plant Science, LP and BASF Plant Science GmbH (together, “BASF”) hereby

  submit their Opening Claim Construction Brief. BASF respectfully submits that the Court

  should construe the disputed terms according to BASF’s proposed constructions, which are

  consistent with the plain language of the claims, the specifications and prosecution histories. In

  contrast, Commonwealth Scientific and Industrial Research Organisation, Grains Research and

  Development Corp. and Nuseed Pty Ltd. (collectively, “CSIRO”) proposes constructions that are

  wholly divorced from the intrinsic evidence.

          In a transparent attempt to salvage the validity of its claims, CSIRO’s proposed claim

  constructions ignore the plain and ordinary meaning of simple, straightforward terms. For

  example, CSIRO argues that “at least [X]%” and “[X]%” are restricted by some nebulous “upper

  limit enabled by the specification,” and “less than [X]%” is restricted by an equally nebulous

  “lower limit enabled by the specification.” Those constructions – based on whatever limit would

  allow the claims to be enabled – reflect an improper attempt to construe claim terms to preserve

  validity.

          The same is true for the term “seed-preferred promoter.” To avoid a determination of

  indefiniteness, CSIRO argues that the term is non-limiting – despite the fact that the specification

  and prosecution history repeatedly emphasize that the degree of promoter activity in a seed is an

  integral part of the alleged invention. CSIRO’s litigation-driven position is underscored by its

  alternative construction that “seed-preferred promoter” actually means “seed-specific promoter”

  – the exact term that the patentee attempted to distinguish “seed-preferred promoter” from during

  prosecution.

          Other CSIRO constructions ignore the plain meaning of simple, straightforward terms in

  a blatant attempt to impermissibly broaden the claims to cover accused products that are outside
                                                   1
Case 2:17-cv-00503-HCM-LRL Document 206 Filed 02/27/19 Page 6 of 34 PageID# 19252



  their scope. For example, CSIRO argues that “SEQ ID NO:[X]” extends to both the specified

  DNA sequence, and also an undefined, “equivalent sequence.” But CSIRO recited broadening

  language (“at least [X]% identical to”) in its claims when capturing sequences broader than an

  exact sequence; in contrast, the term “SEQ ID NO:[X]” – without such broadening language – is

  restricted to the exact sequence. And during prosecution, the patentee expressly disavowed any

  sequence homologs or analogs. CSIRO likewise seeks to improperly broaden the scope of the

  terms “catalyses [desaturation/elongation]” and “a desaturase [an exogenous desaturase] which

  desaturates,” by reading in the term “capable of.” CSIRO also attempts to broaden the term

  “capable of directing expression,” by reading out the term “expression” and expanding

  “directing” to “stimulating or modulating the transcription of the coding sequence in an

  appropriate cell.” Finally, CSIRO inexplicably drops the word “canola” from the term “the

  extracted canola oil,” in an attempt to broaden that term.

  II.       BACKGROUND

            There are 17 patents at issue in this proceeding, which are generally directed to synthesis

  of long-chain polyunsaturated fatty acids (“LC-PUFAs”) in genetically modified plants.1

            A.      Fatty Acid Nomenclature

            Fatty acids are carbon chains that terminate with a carboxylic group (-COOH). Fatty

  acids are classified by the length of the carbon chain (e.g., C20 has 20 carbons) and the number

  and position of double bonds between carbons, using the syntax of carbons:double-bondsdouble-
  bond positions
               . For example, a C20 fatty acid with 5 double-bonds at the 5th, 8th, 11th, 14th and


  1
   U.S. Patent Nos. 7,642,346 (“the ’346 Patent”); 7,807,849 (“the ’849 Patent”); 7,834,250 (“the
  ’250 Patent”); 8,106,226 (“the ’226 Patent”); 8,288,572 (“the ’572 Patent”); 8,575,377 (“the ’377
  Patent”); 8,853,432 (“the ’432 Patent”); 9,458,410 (“the ’410 Patent”); 9,926,579 (“the ’579
  Patent”); 9,932,541 (“the ’541 Patent”); 9,951,357 (“the ’357 Patent”); 9,963,723 (“the ’723
  Patent”); 9,969,954 (“the ’954 Patent”); 9,970,033 (“the ’033 Patent”); 9,994,792 (“the ’792
  Patent”); 9,994,880 (“the ’880 Patent”); 10,125,084 (“the ’084 Patent”).
                                                     2
Case 2:17-cv-00503-HCM-LRL Document 206 Filed 02/27/19 Page 7 of 34 PageID# 19253



  17th carbons is labeled as 20:5Δ5,8,11,14,17. Polyunsaturated fatty acids (such as LC-PUFAs) have

  two or more double bonds, while monounsaturated fatty acids have one double bond, and

  saturated fatty acids have no double bonds.




  Fatty acids are further classified according to the distance of the farthest double-bond from the

  end of the carbon chain; an “ω3” (“omega 3”) fatty acid, such as 20:5Δ5,8,11,14,17, has its farthest

  double bond (at C17) a distance of 3 carbons from the end of the chain (C20). An example of

  this numbering scheme is shown below (numbers in blue identify the carbon position, while

  numbers in red identify the distance from the omega end of the chain).




  Finally, certain fatty acids have unique names; e.g., 20:5Δ5,8,11,14,17 is known as “eicosapentaenoic

  acid” or “EPA.”

         B.      LC-PUFA Synthesis Generally

         As the patentee acknowledged in the patents-in-suit, it was known that LC-PUFAs are

  synthesized from precursor fatty acids (LA and ALA).




                                                    3
Case 2:17-cv-00503-HCM-LRL Document 206 Filed 02/27/19 Page 8 of 34 PageID# 19254




  ’849 Patent (D.I. 58-4), Fig. 1. Desaturases (abbreviated as “Des” in the diagram) are enzymes

  that add a double bond to, i.e., desaturate, a fatty acid. Id. at col.2 ll.17-19. Similarly, elongases

  (abbreviated as “Elo” in the diagram) are enzymes that add 2 carbon atoms to, i.e., elongate, the

  fatty acid. Id. at col.2 ll.19-20. Desaturases are classified by the carbon in the fatty acid that is

  targeted by the particular enzyme; e.g., a Δ4 desaturase adds a double bond at the C4 position.

  See, e.g., id. at Fig. 1. Elongases are classified by double bond positioning in the fatty acid that

  is targeted by the enzyme; e.g., a Δ6 elongase adds two carbons to a fatty acid that contains a

  double bond at the C6 position. See, e.g., id. Thus, Figure 1 of the ’849 Patent depicts “a series

  of alternating . . . desaturations and elongation reactions” that convert certain fatty acids (e.g.,

  EPA) to other fatty acids (e.g., DPA). See, e.g. id. at col.2 ll.15-17.




                                                     4
Case 2:17-cv-00503-HCM-LRL Document 206 Filed 02/27/19 Page 9 of 34 PageID# 19255



          C.     Expression of Genes in Transgenic Plants

          Although plants can synthesize precursor LC-PUFAs, ALA and LA, they cannot

  synthesize other LC-PUFAs that are desirable for human health, e.g., EPA and DHA. Synthesis

  of such desirable LC-PUFAs involves genetically modifying plants by inserting genes from the

  pathways depicted in Figure 1, supra, that are missing in plants. Before the patents-in-suit, it

  was known how to express such inserted genes in genetically modified plants in order to

  synthesize LC-PUFAs. See ’849 Patent (D.I. 58-4), col.3 l.63-col.4 l.37. One of the elements

  that regulates expression of a gene in the various tissues of the plant is a gene’s promoter; it

  indicates where an early stage of gene expression will be initiated. See id. at col.40 l.35-col.41

  l.25.

  III.    LEGAL STANDARD

          The meaning of a patent and the terms of art within its claims are questions of law

  exclusively for the Court. Markman v. Westview Instruments, Inc., 517 U.S. 370, 372

  (1996). The claims of the patent define the invention to which the patentee has rights. Phillips

  v. AWH Corp., 415 F.3d 1303, 1312 (Fed. Cir. 2005) (en banc). “In construing claims, this court

  relies primarily on the claim language, the specification, and the prosecution history.” Vederi,

  LLC v. Google, Inc., 744 F.3d 1376, 1382 (Fed. Cir. 2014).

          Claim construction begins with the language of the claims. Abbott Labs. v. Andrx

  Pharm., Inc., 452 F.3d 1331, 1336 (Fed. Cir. 2006). Claim terms “are generally given their

  ordinary and customary meaning,” as it would have been understood by a person of ordinary

  skill in the art. Phillips, 415 F.3d at 1312–13. When the plain and ordinary meaning of a claim

  term is “readily apparent even to lay judges,” then claim construction “involves little more than

  the application of the widely accepted meaning of commonly understood words.” Id. at 1314.



                                                    5
Case 2:17-cv-00503-HCM-LRL Document 206 Filed 02/27/19 Page 10 of 34 PageID# 19256



          Where claim terms are ambiguous or disputed, then [construction] turn[s] to the

   specification” which is “always highly relevant to the claim construction analysis.” Abbott

   Labs., 452 F.3d at 1336. In only two instances do the Courts deviate from the plain and ordinary

   meaning of a claim: “1) when a patentee sets out a definition and acts as his own lexicographer,

   or 2) when the patentee disavows the full scope of the claim term[.]” Hill-Rom Servs., Inc. v.

   Stryker Corp., 755 F.3d 1367, 1371 (Fed. Cir. 2014). Disavowal requires that the specification

   or prosecution history clearly indicate that the invention is limited to a particular form or does

   not include a particular feature. Id.

          Only if the intrinsic record is ambiguous may a court seek guidance from extrinsic

   evidence, “which ‘consists of all evidence external to the patent and prosecution history,

   including expert and inventor testimony, dictionaries, and learned treatises.’ ” Power

   Integrations, Inc. v. Fairchild Semiconductor Int’l, Inc., 711 F.3d 1348, 1360 (Fed. Cir. 2013).

   Extrinsic evidence may not be used ‘to contradict claim meaning that is unambiguous in light of

   the intrinsic evidence.’ ” Summit 6, LLC v. Samsung Elecs. Co., 802 F.3d 1283, 1290 (Fed. Cir.

   2015) (citing to Phillips, 415 F.3d at 1324); Vederi, 744 F.3d at 1382 (“extrinsic evidence may

   be less reliable than the intrinsic evidence”).

   IV.    ARGUMENT

          A.      The term “at least [X]%” should be construed as open-ended,
                  without an upper limit, consistent with its plain and ordinary meaning.

          The term “at least [X]%” appears in every independent claim of 7 asserted patents (the

   ’849, ’226, ’572, ’377, ’432, ’410, and ’723 Patents), except for claims 18 and 20 of the ’723

   Patent. The term specifies a range for the (1) percentage of a particular fatty acid(s) produced in




                                                     6
Case 2:17-cv-00503-HCM-LRL Document 206 Filed 02/27/19 Page 11 of 34 PageID# 19257



   a claimed seed; and/or (2) conversion ratio (a/k/a efficiency of conversion) between particular

   fatty acids.2 BASF’s and CSIRO’s respective constructions are set forth in the table below.

                                        BASF’s                                  CSIRO’s
            Term                  Proposed Construction                   Proposed Construction

   “at least [X]%”           Plain and ordinary meaning           “greater than or equal to X%, and
                                                                  less than the inherent upper limit
                                                                  enabled by the specification”

          The term “at least [X]%” has a plain and ordinary meaning. See, e.g., Quantum Corp. v.

   Rodime, PLC, 65 F.3d 1577, 1581 (Fed. Cir. 1995) (the term “at least” means “as the minimum,”

   and “ ‘at least 600 tpi’ . . . expressly represents an open-ended range, i.e. 600 tpi and up’ ”);

   Lantech, Inc. v. Keip Mach. Co., 32 F.3d 542, 546 (Fed. Cir. 1994) (“[T]he term ‘at least two’

   sets forth the minimum number of a particular element required.”). That term sets a minimum in

   relation to an open-ended range. But, CSIRO proposes associating the term with a ceiling: “less

   than the inherent upper limit enabled by the specification.” There is no basis in the claims, the

   specification or the prosecution history for such a construction. CSIRO’s contrived construction

   is nothing more than an attempt to salvage overly-broad claims, which lack written description

   support and are not enabled. As the Federal Circuit has held – in the specific context of the same

   “at least [X]%” term – “a patentee chooses broad claim language at the peril of losing any claim




   2
     The term “at least [X]%” appears in many claims (’849 Patent, claims 1, 3-6, 10, 11; ’226
   Patent, claims 1, 3-18; ’572 Patent, claims 1, 3-18; ’377 Patent, claims 1, 3-18; ’432 Patent,
   claims 1, 3-18, 26-40; ’410 Patent, claims 1-15; ’723 Patent, claims 1, 2, 6-10, 16; ’579 Patent,
   claims 1, 7; ’357 Patent, claims 28-30, 39-41, 43-45; ’792 Patent, claims 1, 5; ’541 Patent,
   claims, 1, 7, 8, 15, 20, 21; ’954 Patent, claims 7, 8, 20, 21; ’084 Patent, claims 1, 9), including in
   other contexts. Mindful of the Court’s resources, and given the sheer number of claims that
   recite the term “at least [X]%,” BASF focuses here on the contexts relevant to the parties’
   dispute.
                                                     7
Case 2:17-cv-00503-HCM-LRL Document 206 Filed 02/27/19 Page 12 of 34 PageID# 19258



   that cannot be enabled across its full scope of coverage.”3 MagSil Corp. v. Hitachi Global

   Storage Techs., Inc., 687 F.3d 1377, 1381 (Fed. Cir. 2012).

          Claim 1 of the ’226 Patent is representative of the independent claims at issue:

          1. A process for producing oil containing eicosapentaenoic acid [i.e., EPA] and
          docosapentaenoic acid [i.e., DPA], comprising the steps of obtaining a transgenic
          Brassica or Arabidopsis[]plant seed comprising eicosapentaenoic acid and
          docosapentaenoic acid, wherein the total fatty acid of the transgenic seed
          comprises at least 2.5% ω3 C20 fatty acids (w/w) and wherein the
          docosapentaenoic acid is present at a level based on a conversion ratio of
          eicosapentaenoic acid to docosapentaenoic acid of at least 5% (w/w), and
          extracting oil from the transgenic Brassica or Arabidopsis plant seed so as to
          thereby produce the oil.

   ’226 Patent (D.I. 59-1), claim 1 (emphasis added). The plain language of the claim does not set

   an upper limit for the percentage of ω3 C20 fatty acids (in red) or the conversion ratio of EPA to

   DPA (in blue). Nor do the dependent claims of the ’226 Patent (and the other 6 patents at issue)

   set an upper limit. There can be no question that the patent drafter specifically intended the plain

   and ordinary, open-ended meaning of “at least [X]%.”

          There is likewise no support in the specification for imposing a ceiling on the “at least

   [X]%” range. Indeed, the specification of the ’226 Patent uses the term “at least” more than 350

   times (frequently in the same context as the claims), without specifying an upper limit as a cap

   on the range. For example, in the section of the specification entitled “Levels of LC-PUFA

   Produced,” the specification discloses the ranges of fatty acid percentages (including the C20 ω3

   fatty acids of the claims at issue) in various embodiments; the term “at least” prefaces all of the

   ranges, and without any upper limit:

          In certain embodiments, where the recombinant cell is useful in a fermentation
          process such as, for example, a yeast cell, the level of EPA that is produced may
          be at least 0.21% of the total fatty acid in the cell, preferably at least 0.82% or
   3
     By including a nebulous “inherent upper limit enabled by the specification,” CSIRO’s proposed
   definition only makes the term less clear. No specific upper limit is proposed. That provides an
   independent basis to reject CSIRO’s proposed construction.
                                                    8
Case 2:17-cv-00503-HCM-LRL Document 206 Filed 02/27/19 Page 13 of 34 PageID# 19259



             at least 2% and even more preferably at least 5%.

             In other embodiments, the total fatty acid of the recombinant cell may comprise at
             least 1.5% EPA, preferably at least 2.1% EPA, and more preferably at least
             2.5%, at least 3.1%, at least 4% or at least 5.1% EPA.

             In further embodiments, where the recombinant cell is useful in a fermentation
             process or is a plant cell and DPA is produced, the total fatty acid in the cell may
             comprise at least 0.1% DPA, preferably at least 0.13% or at least 0.15% and
             more preferably at least 0.5% or at least 1% DPA.

             In further embodiments, the total fatty acid of the cell may comprise at least 2%
             C20 LC-PUFA, preferably at least 3% or at least 4% C20 LC-PUFA, more
             preferably at least 4.7% or at least 7.9% C20 LC-PUFA and most preferably at
             least 10.2% C20 LC-PUFA.

             In further embodiments, the total fatty acid of the cell may comprise at least
             2.5% C20 ω3 LC-PUFA, preferably at least 4.1% or more preferably at least
             5% C20 ω3 LC-PUFA.

             In other embodiments, where both EPA and DPA are synthesized in a cell, the
             level of EPA reached is at least 1.5%, at least 2.1% or at least 2.5% and the
             level of DPA at least 0.13%, at least 0.5% or at least 1.0%.

   ’226 Patent (D.I. 59-1), col.28 ll.37-62 (emphasis added). The same is true for that section’s

   disclosure of the conversion ratio of various embodiments:

             In a preferred embodiment, the conversion efficiency is for ALA to EPA. In
             particular embodiments, the conversion ratio for production of EPA in a
             recombinant cell may be at least 0.5%, at least 1%, or at least 2%. In another
             embodiment, the conversion efficiency for ALA to EPA is at least 14.6%. In
             further embodiments, the conversion ratio for production of DPA from EPA in a
             recombinant cell is at least 5%, at least 7%, or at least 10%. . . . In a particular
             embodiment, the conversion efficiency of ALA to ω3 products through a Δ6
             desaturation step and/or an Δ9 elongation step in a recombinant cell, preferably a
             plant cell, more preferably a seed cell, is at least 22% or at least 24%. Stated
             otherwise, in this embodiment the ratio of products derived from ALA to ALA
             (products:ALA) in the cell is at least 1:3.6.

   Id. at col.29 ll.10-29 (emphasis added). Contrary to CSIRO’s position, the intrinsic evidence is

   unambiguous that “at least [X]%” is an open-ended range.4


   4
       There is no disavowal of scope in the prosecution history with respect to this term.


                                                       9
Case 2:17-cv-00503-HCM-LRL Document 206 Filed 02/27/19 Page 14 of 34 PageID# 19260



          District courts have consistently rejected virtually identical attempts to restrict the broad

   “at least” language of a claim. For example, the Southern District of California did not impose

   an upper limit with respect to a claim limitation requiring that “the specific signal is at least 3

   fold greater than the same antibody conjugated to Pacific Blue.” Regents of the Univ. of

   California v. Affymetrix, Inc., No. 17-CV-01394-H-NLS, 2018 WL 4216361, at *9-10 (S.D. Cal.

   Sept. 4, 2018) (emphasis added). Similar to CSIRO’s argument here, the Plaintiffs in Regents

   argued that there is “an inherent upper limit in the range of about 20-25 fold.” Id. at *9. The

   court’s analysis is instructive. The court found that “[t]he claim language places no express

   upper limit on the increase in signal.” Id. at *10. And so here. The court further explained that

   it was unaware of any legal authority supporting the imposition of an upper limit:

          Plaintiffs have failed to provide the Court with any authority . . . that the inherent
          upper limit of an open-ended claim term must be limited to what was known in
          the art at the time of the invention and would not include changes to that upper
          limit in the future. . . . In the absence of such authority, the Court declines to
          adopt Plaintiffs’ proposed inherent upper limit of about 20-25.

   Id. (emphasis added).

          The District of Delaware also refused to impose an upper limit. See Spectrum Pharm.,

   Inc. v. InnoPharma, Inc., No. CV 12-260-RGA-CJB, 2014 WL 3365684 (D. Del. July 3, 2014),

   report and recommendation adopted, No. CV 12-260-RGA-CJB, 2014 WL 4247182 (D. Del.

   Aug. 26, 2014). In Spectrum, there were a variety of claim terms with open-ended ranges, e.g.,

   “consists of at least 92% by weight of the (6S) diastereoisomer.” Id. at *4 (emphasis added).

   And yet, Defendants argued that the upper limit was 98%. Id. at *5. In rejecting that argument,

   the Spectrum court began with the plain language of the claims. The court stressed that the

   Federal Circuit has found the ordinary meaning of the term “at least” to be “an ‘open-ended

   range’ starting at . . . the numerical value in the claim.” Id. at *4. Just as here, “the claim

   language does not provide reason to impose an upper limit . . . and indeed suggests that no such
                                                     10
Case 2:17-cv-00503-HCM-LRL Document 206 Filed 02/27/19 Page 15 of 34 PageID# 19261



   upper limit was contemplated.” Id. Also similarly, “[t]he specification does not explicitly or

   implicitly suggest that any upper limit . . . would result . . . .” Id. at *5. Notably, the court

   rejected Defendants’ argument that the claims must be construed to avoid invalidity. Id. at *8-9.

   The fact that the claims here are invalid for lack of written description and nonenablement

   likewise does not warrant importing a limitation into the claims.

           The District of Arizona is yet another example of a district court refusing to impose an

   upper limit on the term “at least.” See Rowpar Pharm. Inc. v. Lornamead Inc., No. CV-13-

   01071-PHX-DGC, 2014 WL 1259777, at *11 (D. Ariz. Mar. 25, 2014). There, the term at issue

   was “at least 0.1% chlorine dioxide.” Id. (emphasis added). Lornamead asserted “that it should

   be construed to mean that ‘chlorine dioxide is present in a concentration from 0.1% to no more

   than 2.0%.’” Id. As with other courts, the Rowpar court stressed that the Federal Circuit has

   found the ordinary meaning of the term “at least” to simply be “a range with a defined lower

   limit,” and held:

           the ordinary meaning of ‘at least’ sets a lower limit on the claimed range but says
           nothing about the upper limit, and Lornamead has not presented intrinsic evidence
           that the patentee intended the claims using ‘at least’ to have an upper bound.

   Id.

           CSIRO may attempt to rely on Andersen Corp. v. Fiber Composites, LLC, 474 F.3d 1361,

   1376-77 (Fed. Cir. 2007) to support its proposed construction. Andersen is not relevant to the

   present claim construction dispute. Andersen did not address construction of open-ended claim

   terms, and it did not stand for the proposition that plainly open-ended claim language should be

   construed to be capped with an upper limit. Rather, the question on appeal was whether Fiber

   satisfied “the heavy burden required to overturn the jury’s verdict[]” that the particular open-




                                                     11
Case 2:17-cv-00503-HCM-LRL Document 206 Filed 02/27/19 Page 16 of 34 PageID# 19262



   ended claims at issue were enabled.5 The Federal Circuit held that Fiber had not met its burden.6

           There is a second independent reason that Andersen is irrelevant. There, the Federal

   Circuit addressed whether a claim term had an “inherent upper limit” (i.e., the maximum that

   could be theoretically achieved), not an “inherent upper limit enabled by the specification,” as

   CSIRO proposes here. CSIRO vaguely proposes as the upper limit an undefined number that

   this Court finds appropriate to salvage the asserted, invalid claims. The Federal Circuit has

   unequivocally held that such a construction would be improper. Chef Am., Inc. v. Lamb-Weston,

   Inc., 358 F.3d 1371, 1374 (Fed. Cir. 2004) (“This court, however, repeatedly and consistently

   has recognized that courts may not redraft claims, whether to make them operable or to sustain

   their validity.”).

           For all of the above reasons, BASF respectfully submits that the Court should construe

   the term “at least [X]%” as an open-ended term, without an upper limit, consistent with its plain

   and ordinary meaning.

           B.      The term “less than [X]%” should be construed as open-ended,
                   without a lower limit, consistent with its plain and ordinary meaning.

           The term “less than [X]%” specifies a range for the percentage of a particular fatty

   acid(s) produced in a claimed seed. BASF’s and CSIRO’s respective constructions mirror their

   respective constructions of the term “at least [X]%” above, and are set forth in the table below.
   5
     The claims at issue in Andersen recited a mixture of polymer and wood fiber with “a Young’s
   modulus rating of greater than [X].” Id. at 1376. Testimony at trial established that a person of
   skill in the art would have known that the Young’s modulus of the mixture had to be between the
   value for the polymer and the value for wood fiber. Id. at 1377. The Federal Circuit explained
   that a jury was free to find the particular open-ended claims at issue enabled because “‘there is
   an inherent, albeit not precisely known, upper limit and the specification enables one of skill in
   the art to approach that limit.’” Id.
   6
    The Regents Plaintiffs likewise relied on Andersen for the proposition that open-ended claims
   should be capped with an “inherent upper limit.” 2018 WL 4216361, at *10. But, as discussed
   above, the Regents court rejected that argument, given the dearth of authority supporting such a
   construction. Id.
                                                   12
Case 2:17-cv-00503-HCM-LRL Document 206 Filed 02/27/19 Page 17 of 34 PageID# 19263




                                         BASF’s                                  CSIRO’s
            Term                   Proposed Construction                   Proposed Construction

   “less than [X]%”7         Plain and ordinary meaning            “less than X%, and greater than or
                                                                   equal to the inherent lower limit
                                                                   enabled by the specification”

           Just like the term “at least [X]%,” the term “less than [X]%” has a plain and ordinary

   meaning. See, e.g., In re Aldrich, 398 F.2d 855, 863 (C.C.P.A. 1968) (describing “less than” as

   “clear words”); Waddington N. Am., Inc. v. Sabert Corp., No. CIV.A. 09-4883 GEB, 2010 WL

   4363137, at *6 (D.N.J. Oct. 27, 2010) (“ ‘Less than’ has a well known meaning to even a lay

   person . . .”). Proof positive of that plain and ordinary meaning: CSIRO recites “less than” in its

   own proposed construction of the term “at least [X]%” (i.e., “ . . . less than the inherent upper

   limit . . .”), as well as of the term “less than [X]%” (i.e., “ . . . less than X% . . .”). BASF

   respectfully submits that the compelling rationale for rejecting CSIRO’s argument as to the term

   “at least [X]%” applies with equal force to the term “less than [X]%.” There is no merit to

   unilaterally impose a floor of “greater than or equal to the inherent lower limit enabled by the

   specification” as proposed by CSIRO.

           Claim 5 of the ’226 Patent (dependent from claim 1 copied above in Section A) is

   representative of how the term “less than [X]%” is used in the claims at issue:

           5. The process of claim 1, wherein the total fatty acid of the plant seed comprises
           at least 2.1% eicosapentaenoic acid and less than 0.1% eicosatrienoic acid [i.e.,
           ETrA] (w/w).

   ’226 Patent (D.I. 59-1), claim 5 (emphasis added). The plain language of the claim does not set a

   floor for the percentage of fatty acid. In relation to that requirement, the specification expressly

   7
     This claim term appears in the ’849 Patent, claim 6; the ’226 Patent, claim 5; the ’572 Patent,
   claim 5; the ’377 Patent, claim 5; the ’432 Patent, claims 5, 28; the ’410 Patent, claim 3; the ’541
   Patent, claims 1, 2, 15, 16; the ’954 Patent, claims 1, 2, 15, 16; the ’084 Patent, claims 1, 2, 4, 6,
   10, 11.

                                                     13
Case 2:17-cv-00503-HCM-LRL Document 206 Filed 02/27/19 Page 18 of 34 PageID# 19264



   discloses that there is no lower limit: “There are advantages to maximizing production of a

   desired LC-PUFA while minimizing the extent of side-reactions. In a particular embodiment,

   there is little or no ETrA detected (less than 0.1%) while the level of EPA is at least 2.1%.”8

   Id. at col.29 ll.41-44 (emphasis added). The intrinsic evidence is clear that “less than [X]%” is

   an open-ended range, without a lower limit, consistent with its plain and ordinary meaning.9

             C.      The term “comprises [X]%” means “comprises exactly [X]%”;
                     the “term “includes [X]%” means “includes exactly [X]%.”

             The terms “comprises [X]%” and “includes [X]%” specify a particular percentage of fatty

   acid produced in a claimed seed. BASF’s and CSIRO’s respective constructions are set forth in

   the table below.

                                          BASF’s                                CSIRO’s
              Term                  Proposed Construction                 Proposed Construction

   “comprises [X]%”10          “comprises exactly [X]%”           “greater than X%, and less than the
                                                                  inherent upper limit enabled by the
                                                                  specification”

   “includes [X]%”11           “includes exactly [X]%”            “greater than X%, and less than the
                                                                  inherent upper limit enabled by the
                                                                  specification”

             BASF’s proposed construction – that “[X]%,” without the term “at least” preceding it,

   means “exactly [X]%” – is supported by the plain language of the asserted claims. In contrast to



   8
     This same disclosure appears in the ’849 Patent; the ’572 Patent; the ’377 Patent; the ’432
   Patent; the ’410 Patent. And, there is no support in the remaining patent specifications for
   imposing a lower limit for the “less than [X]%” range.
   9
       There is no disavowal of scope in the prosecution history with respect to this term.
   10
     This claim term appears in the ’723 Patent, claims 1, 3-5, 18; the ’250 Patent, claims 4, 5; ’357
   Patent, claims 25-27, 38, 42.
   11
        This claim term appears in the ’250 Patent, claim 1.
                                                     14
Case 2:17-cv-00503-HCM-LRL Document 206 Filed 02/27/19 Page 19 of 34 PageID# 19265



   other asserted claim terms with the words “at least” (e.g., “comprises at least 2.5%”12), the terms

   “comprises [X]%” and “includes [X]%” conspicuously omit the words “at least.” The patentee’s

   decision to omit the open-ended “at least” language manifests its clear intent to restrict the

   claims to the exact percentage recited in the claims.

             Claim 1 of the ’723 Patent is representative:

             1. A process for producing eicosapentaenoic acid and docosapentaenoic acid,
             comprising the steps of (i) growing a transgenic oilseed plant which comprises
             eicosapentaenoic acid and docosapentaenoic acid in an esterified form as part of
             triglycerides in its seed and a microalgal fatty acid desaturase, wherein the total
             fatty acid of the seed comprises 2.5% ω3 C20 fatty acids (w/w) and wherein the
             docosapentaenoic acid is present at a level based on a conversion ratio of
             eicosapentaenoic acid to docosapentaenoic acid of at least 5% (w/w), and (ii)
             harvesting the seed from the transgenic plant.

   ’723 Patent (D.I. 60-3), claim 1 (emphasis added). Even within the above claim itself, the

   patentee used the words “at least” in the context of the recited conversion ratio, but specifically

   omitted those words when reciting the specific percentage (2.5%) of ω3 C20 fatty acids. See

   Phillips v. AWH Corp., 415 F.3d 1303, 1314 (Fed. Cir. 2005) (“Because claim terms are

   normally used consistently throughout the patent, the usage of a term in one claim can often

   illuminate the meaning of the same term in other claims. Differences among claims can also be a

   useful guide in understanding the meaning of particular claim terms.”). CSIRO should be bound

   by its own distinction. Indeed, the originally-filed claim included the term “comprises at least

   2.5% . . .,” and the patentee amended the claim to delete the “at least” language. Ex. 1 (’723

   Patent File History, June 19, 2017 Amendment and Remarks) (“By this Amendment, applicant

   has amended claims 222 and 225-228 to remove the term ‘at least’ . . .”).13



   12
        See Section A above.
   13
     All references to “Ex.” herein refer to exhibits attached to the Declaration of Arlene L. Chow
   submitted herewith with BASF’s Opening Claim Construction Brief.
                                                     15
Case 2:17-cv-00503-HCM-LRL Document 206 Filed 02/27/19 Page 20 of 34 PageID# 19266



          In the context of the claims at issue, the word “comprises” only indicates that the claimed

   seed can contain additional fatty acids, other than the claimed “ω3 C20 fatty acids.” That is the

   only way the specifications apply “comprises” or “includes” in relation to fatty acids, either

   broadly as a class (“ω3 C20 fatty acids”), or specifically (EPA and DPA):14

          In a further embodiment, the cell comprises ω3 polyunsaturated fatty acids that
          are the products of Δ6-desaturation of ALA and/or the products of Δ9 elongation
          of ALA, and the efficiency of conversion of ALA to said products in the cell is at
          least 22% or at least 24%.

          In yet another embodiment, the cell comprises DPA, and the total fatty acid of
          the cell comprises at least 0.1%, at least 0.13%, or at least 0.5% DPA.

          In a further embodiment, the cell comprises DPA, and the efficiency of
          conversion of EPA to DPA in the cell is at least 5% or at least 7%.

          In another embodiment, the cell comprises EPA, and wherein the total fatty acid
          of the cell comprises at least 1.5%, at least 2.1%, or at least 2.5% EPA.

          In a further embodiment, the cell comprises EPA, and the efficiency of
          conversion of ALA to EPA in the cell is at least 2% or at least 14.6%.

   ’723 Patent (D.I. 60-3), col.31 ll.27-43 (emphasis added). When the patentee used “comprises,”

   it was allowing for other types of fatty acids; when the patentee used “at least,” it was defining a

   floor. As the Federal Circuit has noted, the words “comprises” and “includes” in the disputed

   claim terms only “raise[] a presumption that the list of elements is nonexclusive.” Dippin’ Dots,

   Inc. v. Mosey, 476 F.3d 1337, 1343 (Fed. Cir. 2007) (emphasis added). CSIRO should not be

   permitted to circumvent the Federal Circuit’s dictate that “comprises” and “includes” cannot be

   treated as “weasel word[s] with which to abrogate claim limitations.” Id.

          CSIRO also argues for the same construction that it proposes for the term “at least

   [X]%,” i.e., “greater than X%, and less than the inherent upper limit enabled by the


   14
     CSIRO agrees that “includes” and “comprises” have the same meaning. See Lucent Techs.,
   Inc. v. Gateway, Inc., 525 F.3d 1200, 1214 (Fed. Cir. 2008) (The Federal Circuit has
   “consistently interpreted ‘including’ and ‘comprising’ to have the same meaning.”).
                                                    16
Case 2:17-cv-00503-HCM-LRL Document 206 Filed 02/27/19 Page 21 of 34 PageID# 19267



   specification.” BASF respectfully submits that the Court should reject CSIRO’s attempt to

   unilaterally impose a ceiling with an “inherent upper limit enabled by the specification,” for the

   same reasons discussed above in Section A, relating to the term “at least [X]%.”

          D.      The term “SEQ ID NO:[X]” means
                  “the exact sequence identified as SEQ ID NO:[X].”

          The term “SEQ ID NO:[X]” specifies a single DNA sequence that is disclosed in the

   specification, and is labeled by “SEQ ID NO:[X]” (or without the colon, i.e., “SEQ ID NO [X]”).

   BASF’s and CSIRO’s respective constructions are set forth in the table below.

                                       BASF’s                                 CSIRO’s
           Term                  Proposed Construction                  Proposed Construction

   “SEQ ID NO:[X]”15        “the exact sequence identified as no construction necessary
                            SEQ ID NO:X”                      If construed, “the nucleotide or
                                                              amino acid sequence identified by
                                                              the number X in the relevant patent
                                                              or an equivalent sequence.”

          The term “SEQ ID NO:[X]” refers to the exact corresponding sequence disclosed in the

   specification. BASF’s construction is supported by the plain meaning of the term. See Phillips,

   415 F.3d at 1314. There is no support for CSIRO’s alternative proposed construction that the

   term extends to “an equivalent sequence.” It is entirely unclear what sequences would be

   “equivalent.” Indeed, the term “equivalent sequence” is not present in the specification,

   prosecution history or claims. That alternative proposed construction also improperly drives

   CSIRO’s primary argument that no construction is necessary; CSIRO likely intends to argue to

   the jury that a non-identical sequence can somehow fall within the literal scope of the specific

   claim term “SEQ ID NO:[X].”



   15
     This claim term appears in the ’579 Patent, claims 1, 7; the ’033 Patent, claims 1, 6, 15; the
   ’792 Patent, claims 1, 2; the ’880 Patent, claims 11, 20; the ’346 Patent, claims 1, 3, 5-7.
                                                   17
Case 2:17-cv-00503-HCM-LRL Document 206 Filed 02/27/19 Page 22 of 34 PageID# 19268



          Claim 7 of the ’579 Patent is representative of the usage of the term “SEQ ID NO:[X]” in

   the ’579, ’033,’880, and ’792 Patents:

          7. A Brassica plant cell comprising a polynucleotide which encodes a Δ5 elongase
          operably linked to a promoter which directs expression of the polynucleotide in
          the plant cell; a polynucleotide which encodes a Δ6 elongase which has the amino
          acid sequence set forth as SEQ ID NO:31, operably linked to a promoter which
          directs expression of the polynucleotide in the plant cell; a polynucleotide which
          encodes a Δ4 desaturase whose amino acid sequence is at least 99.5% identical
          to the sequence set forth as SEQ ID NO:33, operably linked to a promoter
          which directs expression of the polynucleotide in the plant cell; a polynucleotide
          which encodes a Δ5 desaturase which has the amino acid sequence set forth as
          SEQ ID NO:18, operably linked to a promoter which directs expression of the
          polynucleotide in the plant cell; a polynucleotide which encodes a Δ6 desaturase
          operably linked to a promoter which directs expression of the polynucleotide in
          the plant cell; and an exogenous desaturase which desaturates an acyl-CoA
          substrate.

   ’579 Patent (D.I. 61-2), claim 7 (emphasis added). Consistent with BASF’s proposed

   construction, the patentee only recited “SEQ ID NO:[X]” in relation to the specific sequence;

   when the patentee wished to depart from that specific sequence, it recited “at least [X]% identical

   to.”16 Claim 6 of the ’346 Patent recites a “SEQ ID NO:[X]” without any reference to “at least

   [X]% identical to”:

          6. An isolated nucleic acid molecule comprising: (a) the nucleic acid sequence as
          shown in FIG. 3 (SEQ ID NO: 6) from nucleotides 1 to 398 wherein; or (b) a
          nucleic acid sequence that is complementary to the nucleic acid sequence of (a).

   ’346 Patent (D.I. 62-4), claim 6 (emphasis added).

          In the specification, the patentee relied on other language to refer to sequences that are

   not 100% identical to a specific SEQ ID NO. For example, the ’346 Patent defines the term

   “sequence that has substantial sequence homology” as “. . . includ[ing] nucleic acid sequences

   having at least 65%, more preferably at least 85%, and most preferably 90-95% identity with the


   16
     The corresponding specifications expressly disclose that “minimum % identity figures” are
   provided “where applicable.” See ’033 Patent (D.I. 62-1), col.37 ll.18-20; ’792 Patent (D.I. 62-
   2), col.43 ll.32-34; ’880 Patent (D.I. 62-3), col.33 ll.31-33.
                                                   18
Case 2:17-cv-00503-HCM-LRL Document 206 Filed 02/27/19 Page 23 of 34 PageID# 19269



   nucleic acid sequences as shown in FIG. 1 (SEQ.ID.NO.:1), FIG. 2 (SEQ.ID.NO.:4), FIG. 3

   (SEQ.ID.NO.:6) or FIG. 4 (SEQ.ID.NO.:8).” Id. at col.7 ll.20-32 (emphasis added). Similarly,

   the ’346 Patent defines the term “a nucleic acid sequence which is an analog” as “a nucleic acid

   sequence which has been modified as compared to the sequence of (a), (b) or (c) . . .” Id. at

   col.8 ll.20-22 (emphasis added).

          During prosecution of the ’346 Patent, the patentee clearly and unambiguously

   disavowed any claim scope covering a homolog, analog or other non-identical version of the

   claimed sequences. The originally-prosecuted claim recited broadening language, such as

   “substantial sequence homology” and “an analog of.” But, that language was removed, because

   the Examiner found that the specification did not support inclusion of other sequences in the

   claims. See, e.g., Ex. 2 (’346 Patent File History, May 1, 2007 Office Action) at 5-7; Ex. 3 (’346

   Patent File History, January 17, 2008 Office Action) at 4-8; Ex. 4 (’346 Patent File History,

   December 16, 2008 Office Action) at 5. Ultimately, the claims of the ’346 Patent issued without

   the original broadening language, reciting instead the specific “SEQ ID NO:[X].” Given this

   disavowal by the patentee, the term should be restricted to that exact sequence.

          E.      The term “seed-preferred promoter” is indefinite.

          The term “seed-preferred promoter” appears in claim 7 of the ’346 Patent (as well as in

   numerous unasserted claims of the ’346 Patent). BASF’s and CSIRO’s respective constructions

   are set forth in the table below.




                                                   19
Case 2:17-cv-00503-HCM-LRL Document 206 Filed 02/27/19 Page 24 of 34 PageID# 19270




                                         BASF’s                                  CSIRO’s
            Term                   Proposed Construction                   Proposed Construction

   “seed-preferred           Indefinite                            Non-limiting.
   promoter”                                                       If limiting, no construction
                                                                   necessary.
                                                                   If construed, “seed-specific
                                                                   promoter”

           Claim 7 of the ’346 Patent recites:

           7. A chimeric nucleic acid molecule comprising: (a) a seed-preferred promoter
           obtained from flax which comprises: the nucleic acid sequence as shown in FIG. 3
           (SEQ ID NO: 6) from nucleotides 1 to 398 and (b) a second nucleic acid sequence
           non-native to said flax seed-preferred promoter.

   ’346 Patent (D.I. 62-4), claim 7 (emphasis added).

           The term “seed-preferred promoter” is indefinite. A person skilled in the art would not

   be able to ascertain with reasonable certainty the bounds of what constitutes a “seed-preferred

   promoter,” as opposed to a “seed-specific promoter” (which is separately recited in the claims of

   the same patent). See Nautilus, Inc. v. Biosig Instruments, Inc., 572 U.S. 898, 901 (2014) (“[A]

   patent is invalid for indefiniteness if its claims, read in light of the specification delineating the

   patent, and the prosecution history, fail to inform, with reasonable certainty, those skilled in the

   art about the scope of the invention.”). Notably, the patent specification provides no definition

   for “seed-preferred promoter.” It appears only in the claims of the ’346 Patent; the specification

   makes no mention of the term, either on its own or in relation to the separate and distinct term

   “seed-specific promoter.”17




   17
     In sharp contrast, the specification provides an express definition for the distinct term “seed-
   specific promoter,” i.e., “a gene expressed under the control of the promoter is predominantly
   expressed in plant seeds with no or no substantial expression, typically less than 5% of the
   overall expression level, in other plant tissues.” ’346 Patent (D.I. 62-4), col.5 ll. 18-22.
                                                      20
Case 2:17-cv-00503-HCM-LRL Document 206 Filed 02/27/19 Page 25 of 34 PageID# 19271



          The Examiner coined the term “seed-preferred promoter” during prosecution of the ’346

   Patent. In particular, the Examiner rejected the pending claims – which, at the time, were

   broadly directed to a genus of “seed-specific promoters” – as anticipated and obvious over Jain

   et al., WO98/18948 (“Jain”). Ex. 2 (’346 Patent File History, May 1, 2007 Office Action) at 10.

   The Examiner explained that “Jain discloses two seed-preferred promoter sequences.” Id. But,

   the Examiner did not provide a particular definition for “seed-preferred promoter,” and did not

   indicate how it should be distinguished from the separate and distinct term “seed-specific

   promoter” that was already recited in the pending claims. As for Jain, it does not use the term

   “seed-preferred promoter”; nor does it suggest a definition for that term. The patentee argued in

   response that Jain discloses something different than a “seed-specific promoter” – without

   elaborating what “seed-preferred promoter” means. Ex. 5 (’346 Patent File History, October 31,

   2007 Amendment and Reply) at 18 (“Jain does not teach the seed-specific promoters of the

   present invention.”). At one point, the Examiner also rejected the pending claims for lack of

   support in the specification, again distinguishing a “seed-preferred promoter” from a “seed-

   specific promoter,” without further elaboration:

          [T]he specification, while being enabling for a method of using an isolated
          nucleic acid molecule comprising a nucleic acid sequence comprising bases 1-417
          of SEQ ID NO: 6 having seed-preferred promoter activity and a transgenic
          plant transformed herewith, does not reasonably provide enablement for a
          genus of seed-specific promoters obtained from flax comprising an RY repeat
          and an ABRE promoter element . . .

   Ex. 3 (’346 Patent File History, January 17, 2008 Office Action) at 7 (emphasis added). Thus,

   contrary to CSIRO’s position that “seed-specific promoter” and “seed-preferred promoter”

   should be treated synonymously, the patentee itself treated those two terms as distinct.

          This Court has found a claim term to be indefinite on similar facts. See Spherix Inc. v.

   Verizon Servs Corp., 119 F. Supp. 3d 453, 456-57 (E.D. Va. 2015). In Spherix, the Court


                                                   21
Case 2:17-cv-00503-HCM-LRL Document 206 Filed 02/27/19 Page 26 of 34 PageID# 19272



   granted summary judgment of invalidity for indefiniteness, because “nothing in the specification

   explains an ‘interface for connecting’ or distinguishes it from the third element, an ‘interface

   module.’ ” Id. Likewise here, there is nothing in the specification (or anywhere else, such as the

   claim or prosecution history) that establishes the scope of a “seed-preferred promoter.”

          To avoid a finding of indefiniteness, CSIRO argues that the term “seed-preferred

   promoter” is non-limiting. That argument lacks merit. Although there is no mention whatsoever

   in the specification of a “seed-preferred promoter,” the specification does emphasize the degree

   of promoter activity in a seed as an integral part of the alleged invention. For example, the title

   of the patent is “Flax seed specific promoters.” The Summary of the Invention states:

          The present invention relates to improved methods for the seed-specific
          expression of non-native genes in plants. In particular, the invention relates to
          improved methods for the seed-specific expression of non-native genes in flax.

   ’346 Patent (D.I. 62-4), col.2 ll.64-67 (emphasis added). Still further, the Detailed Description

   of the Invention discloses: “The present invention provides novel flax seed specific promoters

   useful for the expression of non-native genes in flax seeds and the seeds of other plant species.”

   Id. at col.5 ll.13-15 (emphasis added). And, during prosecution, the patentee repeatedly relied on

   alleged seed-specific activity of the claimed SEQ ID NO: 6 in order to distinguish over the prior

   art, before amending the claims to recite the disputed “seed-preferred promoter.” See Ex. 5 (’346

   Patent File History, October 31, 2007 Amendment and Reply) at 17-18. Federal Circuit

   precedent is clear that, given the specification and prosecution history, the claim term is limiting.

   See, e.g., Rotatable Techs. LLC v. Motorola Mobility LLC, 567 F. App’x 941, 943 (Fed. Cir.

   2014) (“The specification is replete with references to ‘selectively rotating,’ underscoring the

   importance of the feature to the claimed invention. . . . Further the prosecution history shows

   ‘clear reliance on the preamble’ to distinguish the claimed invention from the prior art’) (internal

   citations omitted); Saffran v. Johnson & Johnson, 712 F.3d 549, 559 (Fed. Cir. 2013) (“We
                                                    22
Case 2:17-cv-00503-HCM-LRL Document 206 Filed 02/27/19 Page 27 of 34 PageID# 19273



   conclude that Saffran’s statements during prosecution of the ’760 patent limit ‘device’ to a

   continuous sheet. On multiple occasions during prosecution, Saffran sought to distinguish prior

   art by representing to the examiner that ‘[t]he device used is a sheet rather than a pre formed

   chamber (Gaskill).’”); In re Cruciferous Sprout Litig., 301 F.3d 1343, 1347 (Fed. Cir. 2002)

   (“[B]oth the specification and prosecution history indicate that the phrase ‘rich in glucosinolates’

   helps to define the claimed invention and is, therefore, a limitation of claim 1”).

             F.      The term “capable of directing expression . . . in [the cell/seed]”
                     means “capable of causing expression . . . in [the cell/seed].”

             BASF’s and CSIRO’s respective constructions for the term “capable of directing

   expression . . . in [the cell/seed]” are set forth in the table below.

                                          BASF’s                                   CSIRO’s
              Term                  Proposed Construction                    Proposed Construction

   “operably linked to         The term “capable of directing         No construction necessary.
   one or more                 expression . . . in [the cell/seed]”   If construed, “linked to one or more
   promoters that are          means “capable of causing              promoters that are capable of
   capable of directing        expression . . . in [the               stimulating or modulating the
   expression . . . in [the    cell/seed].”                           transcription of the coding sequence
   cell/seed]”18                                                      in an appropriate cell.”

             Claim 1 of the ’357 Patent is representative of the claims at issue:

             1. A recombinant plant cell which synthesises eicosapentaenoic acid (EPA),
             comprising more than one heterologous polynucleotide, wherein said
             polynucleotides encode: a) a Δ6 desaturase, a Δ6 elongase and a Δ5 desaturase; or
             b) a Δ5/Δ6 bifunctional desaturase and a Δ5/Δ6 bifunctional elongase; wherein
             the more than one polynucleotides are operably linked to one or more
             promoters that are capable of directing expression of said polynucleotides in
             the cell, wherein the enzymes encoded by said polynucleotides comprise at least
             one desaturase which is able to act on an acyl-CoA substrate, and wherein the
             synthesis of EPA requires the sequential action of said enzymes.




   18
        This claim term appears in the ’250 Patent, claims 8, 9; the ’357 Patent, claims 1, 8, 38-45.


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Case 2:17-cv-00503-HCM-LRL Document 206 Filed 02/27/19 Page 28 of 34 PageID# 19274



   ’357 Patent (D.I. 61-3), claim 1 (emphasis added). BASF’s proposed construction tracks the

   language of the claim, but clarifies that the phrase “directing expression” means “causing

   expression” in the particular cell/seed. BASF’s construction is guided by the specific usage of

   the term “direct gene expression” in the specification, i.e., that the expression vectors of the

   alleged invention “function (i.e., direct gene expression)” in particular cells:

          Expression vectors of the present invention include any vectors that function (i.e.,
          direct gene expression) in recombinant cells of the present invention, including
          in bacterial, fungal, endoparasite, arthropod, other animal, and plant cells.
          Preferred expression vectors of the present invention can direct gene expression
          in yeast, animal or plant cells.

   Id. at col.39 ll.14-20 (emphasis added). Similarly, the specification discloses that constitutive

   promoters, i.e., promoters that function continuously in all cell types, “direct continuous gene

   expression”:

          Constitutive promoters direct continuous gene expression in all cells types and at
          all times (e.g., actin, ubiquitin, CaMV 35S).

   Id. at col.41 ll.60-62. That is “causing expression.”

          CSIRO’s proposed construction is unduly broad. It reads out “expression,” requiring

   instead “stimulating or modulating the transcription of the coding sequence.” But transcription

   is a distinct step prior to expression. There is no basis in the claims or the specification for

   extending the term to transcription activity. Although CSIRO does not appear to dispute the

   general intent of the word “directing,” it further broadens the term to cover “stimulating or

   modulating.” And yet, stimulating expression does not necessarily mean there is expression. As

   for modulating, it can mean increasing or decreasing; the specification nowhere envisions

   promoters that decrease gene expression. “[T]he construction that stays true to the claim

   language and most naturally aligns with the patent’s description of the invention, will be, in the




                                                     24
Case 2:17-cv-00503-HCM-LRL Document 206 Filed 02/27/19 Page 29 of 34 PageID# 19275



   end, the correct construction.” Renishaw PLC v. Marposs Societa’ per Azioni, 158 F.3d 1243,

   1249-50 (Fed. Cir. 1998). That is BASF’s proposed construction.

             G.      The words “capable of” should not be read into the terms “catalyses
                     [desaturation/elongation]” and “a desaturase
                     [an exogenous desaturase] which desaturates an acyl-CoA substrate.”

             BASF’s and CSIRO’s respective constructions of the term “catalyses

   [desaturation/elongation]” and “a desaturase [an exogenous desaturase] which desaturates an

   acyl-CoA substrate” are set forth in the table below.

                                          BASF’s                                   CSIRO’s
              Term                  Proposed Construction                    Proposed Construction

   “catalyses                  The term “catalyses              No construction necessary.
   [desaturation/              [desaturation/elongation]” means If construed, “a
   elongation]”19              “[desaturates/elongates].”       [desaturase/elongase] capable of
                                                                catalyzing [desaturation/elongation]
                                                                of [fatty acid 1] to [fatty acid 2].”

   “a desaturase [an     No construction necessary                  No construction necessary.
   exogenous desaturase]                                            If construed, “a desaturase capable
   which desaturates an                                             of desaturating an acyl-CoA
   acyl-CoA substrate”20                                            substrate.”

             Claim 1 of the ’880 Patent is representative of the claims at issue that recite the term

   “catalyses [desaturation/elongation]”:

             1. A recombinant nucleic acid molecule comprising a polynucleotide which
             encodes a Δ5/Δ6 bifunctional desaturase which catalyses desaturation of α-
             linolenic acid (ALA) to stearidonic acid (SDA) and desaturation of
             eicosatetraenoic acid (ETA) to eicosapentaenoic acid (EPA); and a polynucleotide
             which encodes a Δ6 elongase which catalyses elongation of SDA to ETA;
             wherein each polynucleotide is operably linked to a promoter which directs
             expression of the polynucleotide in a plant seed.


   19
        This claim term appears in the ’880 Patent, claims 1, 2, 8, 9, 20.
   20
     This claim term appears in the ’250 Patent, claims 1, 6, 7; the ’579 Patent, claims 1, 7; the ’033
   Patent, claims 4, 5, 10, 19, 31, 32, 33, 34.
                                                      25
Case 2:17-cv-00503-HCM-LRL Document 206 Filed 02/27/19 Page 30 of 34 PageID# 19276



   ’880 Patent (D.I. 62-3), claim 1 (emphasis added).

             The specification is clear that the term “catalyses [desaturation/elongation]” refers to the

   activity of desaturase and elongase enzymes, respectively, on their substrates. The claim term

   does not extend to enzymes that are merely “capable of” desaturating/elongating – as CSIRO

   proposes – if those enzymes do not perform that function in the seed at issue. For example, in

   describing the fatty acid synthesis pathway, the specification discloses that desaturases

   “catalyse[]” desaturation by “add[ing] an additional double bond into the fatty acid carbon

   chain”:

             In one pathway (FIG. 1, II), the desaturation reactions are catalysed by Δ6, Δ5,
             and Δ4 desaturases, each of which adds an additional double bond into the
             fatty acid carbon chain, while each of a Δ6 and Δ5 elongase reaction adds a two-
             carbon unit to lengthen the chain.

   Id. at col.2 ll.41-45 (emphasis added). Similarly, elongases “add[] a two-carbon unit to lengthen

   the chain.” Id. at col.2 ll.44-45.

             CSIRO consistently reads in the phrase “capable of.” But that construction is

   contradicted by the specification, which draws a distinction between enzymes that “catalyse

   [desaturation/elongation]” and those that are capable or “able to catalyse

   [desaturation/elongation].” Compare, e.g., id. at col.3 ll.25-27 (“The enzyme Δ5 desaturase

   catalyses the further desaturation of C20 LC-PUFA leading to arachidonic acid (ARA, 20:4ω6)

   and EPA (20:5ω3).”) (emphasis added) and id. at col.25 ll.57-61 (“In one embodiment, the

   Δ5/Δ6 bifunctional elongase is able to catalyse the elongation of EPA to form DPA in a plant

   cell such as, for example, a higher plant cell, when that cell is provided with a source of EPA.”)

   (emphasis added).

             BASF also opposes CSIRO’s attempt to read the words “capable of” into the term “a

   desaturase [an exogenous desaturase] which desaturates an acyl-CoA substrate.” The plain


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Case 2:17-cv-00503-HCM-LRL Document 206 Filed 02/27/19 Page 31 of 34 PageID# 19277



   language of the term requires a desaturase “which desaturates.” There is no basis for broadening

   that term beyond its plain language to extend the claimed desaturase to one which need only be

   “capable of” desaturating an acyl-CoA substrate. As discussed above, the specifications of the

   relevant patents distinguish between enzymes that “catalyse [desaturation/elongation]” and those

   that are “able to catalyse [desaturation/elongation].” The specifications emphasize that the

   disclosed enzymes are “at least capable of” desaturating and elongating, indicating that omission

   of the term “capable of” in the disputed terms was deliberate and intended to require more than

   the mere ability to desaturate/elongate. See, e.g., ’849 Patent (D.I. 58-4), col.23 ll.16-20.

             H.      The term “the extracted canola oil” does not require construction.

                                          BASF’s                                 CSIRO’s
              Term                  Proposed Construction                  Proposed Construction

   “the extracted canola       No construction necessary            “the extracted oil”
   oil”21

             BASF respectfully submits that the term “the extracted canola oil” does not require

   construction. CSIRO’s construction follows the exact language of the claim term, but

   inexplicably drops the limitation “canola” from the term.

             I.      Agreed-upon Constructions

             The parties agree that the following claim terms should have the following constructions:

                   Term                                    Agreed-upon Construction

   “C20” / “C20 fatty acids”22          exactly 20 carbon atoms / fatty acids with exactly 20 carbon
                                        atoms


   21
        This claim term appears in the ’541 Patent, claims 5, 18.
   22
     This claim term appears in the ’849 Patent, claims 1, 3; the ’226 Patent, claims 1, 3, 9, 10; the
   ’572 Patent, claims 1, 3, 9, 10; the ’377 Patent, claims 1, 3, 9, 10; the ’432 Patent, claims 1, 3, 9,
   10, 26, 31, 32; the ’410 Patent, claims 1, 6, 7; the ’723 Patent, claims 1, 4, 5, 18; the ’250 Patent,
   claims 1, 10; the ’357 Patent, claims 27, 38, 42; ’084 Patent, claims 2, 10.
                                                     27
Case 2:17-cv-00503-HCM-LRL Document 206 Filed 02/27/19 Page 32 of 34 PageID# 19278




                   Term                                   Agreed-upon Construction

   “w/w”23                              “weight percentage” or “weight by weight”

   “conversion ratio” / “efficiency     “the amount of the LC-PUFA formed as a percentage of one
   of conversion”24                     or more substrate PUFA or LC-PUFA”

   “claim 6”25                          “claim 6” in claim 15 of the ’346 Patent refers to claim 6 of
                                        the ’346 Patent
                                        “claim 6” in claim 16 of the ’346 Patent refers to claim 7 of
                                        the ’346 Patent

   “about”26                            The term “about” means “+/-10% of the recited value.”
                                        Thus, e.g., the term “about 30%” means “27- 33%” and not
                                        “20-40%.”

   “new ω6 [polyunsaturated] fatty “new ω6 [polyunsaturated] fatty acids” means “the sum of all
   acids” / “new ω3                 the ω6 fatty acids excluding LA.” The parties explicitly note
   [polyunsaturated] fatty acids”27 that the category ‘ω6 fatty acids’ excludes ω3 fatty acids and
                                    monounsaturated fatty acids.
                                        “new ω3 [polyunsaturated] fatty acids” means “the sum of all
                                        the ω3 fatty acids excluding ALA.” The parties explicitly
                                        note that the category ‘ω3 fatty acids’ excludes ω6 fatty acids
                                        and monounsaturated fatty acids.




   23
      This claim term appears in the ’849 Patent, claims 1, 3-6, 10; the ’226 Patent, claims 1, 3-7, 9-
   18; the ’572 Patent, claims 1, 3-7, 9-18; the ’377 Patent, claims 1, 3-7, 9-18; the ’432 Patent,
   claims 1, 3-7, 9-18, 26-29, 31-40; the ’410 Patent, claims 1-4, 6-15; the ’723 Patent, claims 1, 2,
   4-10, 16, 18; the ’250 Patent, claims 1, 4, 5.
   24
      This claim term appears in the ’226 Patent, claims 1, 13, 16; the ’572 Patent, claims 1, 13, 16;
   the ’377 Patent, claims 1, 13, 16; the ’432 Patent, claims 1, 13, 16, 26, 35, 38; the ’410 Patent,
   claims 1, 10, 13; the ’723 Patent, claims 1, 7, 9, 16; the ’357 Patent, claims 28-30, 39-41, 43-45.
   25
        This claim term appears in the ’346 Patent, claims 15, 16.
   26
     This claim term appears in the ’541 Patent, claims 10-13, 15, 23-26; the ’954 Patent, claims
   10-13, 15, 23-26; the ’084 Patent claim 2.
   27
     This claim term appears in the ’541 Patent, claims 5, 18; the ’954 Patent, claims 5, 18; the ’084
   Patent, claims 2, 8.


                                                     28
Case 2:17-cv-00503-HCM-LRL Document 206 Filed 02/27/19 Page 33 of 34 PageID# 19279




                Term                                     Agreed-upon Construction

   “A Brassica plant cell for          No construction necessary. The parties agree that the terms
   producing [DPA] and [DHA] in        “triacylglycerols” and “triglycerides” have identical
   an esterified form as part of       meanings.
   triacylglycerols in the plant
   cell” / “in an esterified form as
   part of triglycerides”28

   V.     CONCLUSION

          For the reasons set forth above, BASF respectfully requests that the Court adopt BASF’s

   proposed claim constructions as set forth herein.


   Dated: February 27, 2019                       Respectfully submitted,

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                                                       and BASF Plant Science GmbH




   28
     This claim term appears in the ’572 Patent, claim 1; the ’377 Patent, claim 1; the ’432 Patent,
   claims 1, 26; the ’410 Patent, claim 1; the ’723 Patent, claim 1, 16, 18, 20; the ’250 Patent, claim
   1; the ’579 Patent, claim 1, 5, 12, 13; the ’033 Patent, claims 1, 9, 18, 24, 25, 27-30; the ’792
   Patent, claim 10; the ’541 Patent claims 1, 15; the ’954 Patent, claim 7; the ’084 Patent, claim 1.
                                                   29
Case 2:17-cv-00503-HCM-LRL Document 206 Filed 02/27/19 Page 34 of 34 PageID# 19280



                                  CERTIFICATE OF SERVICE

             I hereby certify that a true copy of the foregoing BASF PLANT SCIENCE, LP’S AND

   BASF PLANT SCIENCE GMBH’S OPENING CLAIM CONSTRUCTION BRIEF was caused

   to be served on February 27, 2019 via email and/or the CM/ECF system upon all counsel of

   record.

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